Case 2:90-cv-00520-KJM-SCR   Document 7885-3   Filed 07/25/23   Page 1 of 3




                      Exhibit C
             Case 2:90-cv-00520-KJM-SCR             Document 7885-3           Filed 07/25/23       Page 2 of 3



From:                 Samantha Wolff
Sent:                 Tuesday, June 13, 2023 2:19 PM
To:                   Kerry F. Walsh; Matt Lopes; colemanspecialmaster@pldolaw.com; MBien@rbgg.com; 'Ernest Galvan';
                      Lisa Ells ; Don Specter; Steven Fama
Cc:                   Paul B. Mello; David C. Casarrubias; v_Damon.McClain@doj.ca.gov; v_Elise.Thorn@doj.ca.gov;
                      v_Namrata.Kotwani@doj.ca.gov; Kaylen Kadotani; Carson R. Niello; Laurel E. O'Connor;
                      v_Melissa.Bentz@cdcr.ca.gov; v_Nicholas.Weber@cdcr.ca.gov; Thind, Sundeep@CDCR;
                      v_dillon.hockerson@cdcr.ca.gov
Subject:              Coleman - Defense expert tours


Good afternoon,

We write to provide the dates for Defendants’ experts’ tours. A few things to note – first, there will be additional tours
after August, but we are still working on those dates and we wanted to provide you the schedule for the next couple of
months as soon as we could. Second, the dates below have been confirmed with the institutions, though it is possible
they may change if the need should arise. We will, of course, provide as much advance notice as possible in the event of
a schedule change. Finally, we will follow up with start times for the first day of each tour as soon as we have that detail
nailed down.

      JULY

         SAC: July 10th‐14th
         CHCF: July 10th‐16th
         SVSP: July 17th‐21st
         SQ: July 17th‐23rd
         CMF: July 24th‐28th

      AUGUST

         SAC: August 2nd‐6th
         CMF: August 5th‐11th
         CHCF: August 7th‐11th
         SQ: August 14th‐18th
         SVSP: August 19th‐25th

Sincerely,
Sam




  Samantha Wolff
  Partner
  Hanson Bridgett LLP
  (415) 995-5020 Direct
  (415) 995-3547 Fax
  swolff@hansonbridgett.com




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            Case 2:90-cv-00520-KJM-SCR                        Document 7885-3                Filed 07/25/23           Page 3 of 3

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